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` Case S:OZ-CV-0557O'-WHA Document 623-8 Filed 03/15/04 Page 1 of 13

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UNITED sTATEs DISTRICT CoURT
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JANE DoE 1, er al., - . ease No. cv 02-557_0-_cW _ _
Plaimiffs, ' ` DEFENDANT PRASAD LAKmEm)Y’s
l REsPoNsE To PLALNTIFF LAKsHMI

vs. - - ' PRATTIPATI’s FIRsT. sET oF
- mTERRoGAToRIEs

LAKIREDDY BALIRED_DY, et al., .-
Defendants. , b -

_ PRoPoUNDING PARTY: PLAINTIFF LAKSHMI PRATTIPATI'

'RESPONDING PARTY: DEFENDANT PRASAD LAKIREDDY

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Pursuant to Rule 33 of the F ederal Rules of Civil Procedure, Defendant_Prasad Lakireddy
("Lakireddy") responds to Plaintiff Lakshmi Prattipati’s First Set of Interrogatoi'ies to Def`endant
Prasad Lakireddy (the 'lInterrogatories") as follows:

G_ENERAL oBJEcTioNs
ll. Prasad Lakireddy objects to the lnterrogatories on the grounds that requiring a

 

response to this discovery substantially burdens the exercise of Lakireddy’s FiRh Amendment
rights. The claims against him in this action are substantially similar to those brought against him
in the federal criminal proceedings currently pending in this Court, Unitea' States v. Prasad
Lakz`reda'y, et a_l., 'Case Number CR-0040028-CW, in which Lalrireddy is scheduled to be
sentenced on or about February 9, 2004 (the "Criminal Action"). On-or_about May 22, 2003, this

Court granted Lakireddy’s motion to stay discovery in part, and stayed his deposition and answers
` ` l - ' case No. cv 02-5570cw .

nEFENoANT rRAsAn LAKlREI)oY’s REsPONsE To PLAlNTlFF LAKsHMl rRArm>A'rI's FmsT sET oF
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to plaintiffs’ interrogatories and requests for admission until August 31, 2003, Lakireddy has - _

l informed plaintiffs and this Court that requiring a response to this discovery substantially burdens

the exercise of his Fifth Amendment rights. Lakireddy makes this response under the compulsion
of the Court’s order issued on May 22, 2003'. Lakireddy will withdraw his assertion of his Fif’ch
Amendment rights and supplement his response upon completion of the Criminal Action.

2. Lakireddy objects to the Int`errogatories generally,v and to specific interrogatories as
set forth below, to the extent they seek-information protected nom disclosure by the attorney-
client privilege,_ and other applicable privileges Lakireddy will construe each interrogatory as
excluding from its scope any such materials, and its answer to an interrogatory should not be
construed as an' express or implied waiver of any applicable privilege. _l`

3. l Lakireddy further objects to the Interrogatories on the ground that the
Interrogatories-Were not served timely. n v

4. The following responses are made solely for the purpose of, and in relation to, this
litigation -Each answer given is subject to all appropriate objections, including, but not limited to,.
objections concerning -competency, relevancy, materiality, propriety, and admissibility All such
objections and the grounds therefore are expressly reserved and may be interposed at or before
the time of trial. '

5. Lakireddy objects to the Interrogatories generally, and-to specific interrogatories as
set forth below, to the extent they require the identification of any fact or witness at this stage of
the litigation on the grounds that such interrogatories are premature, overbroad, oppressive, and

unduly burdensome The information needed to provide complete responses to the interrogatories

1 may be developed during the course of this litigation The responses set forth herein are based on

information obtained and evaluated to date and are made without prejudice to Defendant's right to
use information subsequently discovered as well as information currently known but not yet
known to be relevant, significant, or applicable Lakireddy specifically reserves the right to use at '

b trial or any pretrial proceeding all information developed during discovery in this case, whether or
not it is included i_n these responses_tothis set of Interrogatories.

6. Lakireddy objects to the Interrogatories generally, and to specific interrogatories as
2 case No. cv 02-5570cw

DEFENDANT PRASAD LAKIREDDY’S RESPONSE TO PLAINTIFF LAKSHM[ PRA'I'I`I`PATI'S FlRST SET OF
` lNTERROGATORIES '

 

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n set forth below, to the extent that they purport to require Lakreddy 'to take any act or provide any _

information not required by the Federal Rules of Civil Pr_ocedur'e.

7. Pursuant to Federal Rule of Civil Procedure 33(d), Lakireddy objects to the
lnterrogatories generally, and to specific interrogatories as set forth below, to the extent that they
seek information that is equally or more readably accessible to Plaintiffs through their own
knowledge and/or review of the documents produced by or filed by the parties in this action on
the grounds that such interrogatories are oppressive and unduly burdensome

8. Lakireddy objects to the lnterrogatories generally and specifically to the extent
they require Defendant to comply With an unreasonable or burdensome investigation or analysis

9. Lakireddy notes that investigation and discovery are continuing, and reserves the

right to amend or supplement these responses after having further opportunity _to investigate or

analyze the-facts and law pertinent to this case,

10. All specific responses are made subject to these general objections and are fully
incorporated into each and every response as if set forth therein.
SPECIFIC RESPONSES AND OBJECTIONS
Subj ect to and without waiving its general obj ections, defendant Prasad Lakireddy _
responds to the specific lnterrogatories as follows:

INTERROGATORY NO. 1:
Please state all factual or legal defenses to the allegations rn PLAINTIFFS' Second

Amended Complaint that YOU intend to assert at the trial of this matter.
RESPONSE TO INTERROGATORY NO. l:

Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad,
compound and consists of multiple separate interrogatories Lakireddy fru'ther objects on the
grounds that the interrogatory seeks information protected by the attorney-work product privilege

Subject to and Without waiver of the foregoing objections, Lakireddy responds as follows:
Unless stated otherwise in Defendant Prasad Lakireddy’s Answer to Plaint_iffs’ Second Amended
Complaint ("‘Lakireddy’s- Answer” _, Lakireddy denies the factual allegations in Plaintiffs’ Second

izmended Complaint ln addition, among the legal defenses Lakireddy may assert at the trial of
' ' ` 3 case No. cv 02-5570-cw

DEFENDANT PRASAD LAKIREDDY’S RESPONSE TO PLAINTIFF LAKSHMl PRA'ITIPATI'S FIRST SET OF
INTERROGATORIES

 

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Case 3:02-CV-0557O-WHA Dooument 623-8 Filed 03/15/04 Page 4 of 13

this matter are the following: plaintiffs have failed to state a claim upon which relief can be
granted; plaintiffs have waived any and all claims they may have against Lakireddy; plaintiffs’
claims are_barred, in whole orin party, by the doctrine of estoppel; plaintiffs approved, ratified,
acquiesced in,' licensed, and confirmed the actions complained of in the complaint and are
therefore barred from seeking any recovery in this action; the complaint does not state facts-
sufficient to support an award of exemplary damages; plaintiffs’ claims are barred, in whole or in
part, by the doctrine of laches;l plaintiffs’ claims are barred, in whole or in part, by the doctrine of
unclean hands; plaintiffs’ claims are barred by the statute of limitations to each claim applicable;
- plaintiffs’ claims are barred in that the losses and damages of plaintiffs, if any, are the direct and
proximate result of the acts and conduct of other persons or entities (including plaintiffs) for
which this defendant is not, and cannot be deemed to be, responsible; plaintiffs’ claims are
barred, in whole or in part, because plaintiffs have already been compensated forany alleged
losses or damages; and if plaintiffs are entitled to any recovery in their action, the amount of any
such recovery should be reduced to the extent that any plaintiff has received payment in the form

of restitution in the case of United States v. Reddy, case no. CR-00-40028.

INTERROGATORY NO. 2:

For every defense identified in response to Interrogatory No. l, please state all facts that
support or otherwise RELATE TO that defense
RESPONSE TO INTERROGATORY NO. 2:

Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the_F ederal Rules of Civil Procedure. Lakireddy further objects to this
interrogatory on the grounds that it seeks information protected by the attorney work-product
privilege ln addition, Lakireddy objects to this interrogatory on the grounds that it is vague and
ambiguous in its use of the phrase “otherwise RELATE 'l`O.” In addition to the foregoing
objections Lakireddy invokes his rights under the Fifch Amendment l
rNTERRoGAToRY No. 3_: ` ` '

1 Please state every affirmative defense YOU intend to assert in response to PLAINTIFFS'

Second Amended Complaint.
» 4 case No. cv 02_-557o-cw

DEFENDANT PRASAD LAKIREDDY’S RESPONSE TO PLAlNTIFF LAKSHMI PRA'I'I'IPATI'S FIRST SET OF
INTERROGATOR!ES

 

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Case 3:02-CV-0557O-WHA _Dooument 623-8 Filed 03/15/04 Page 5 of 13

RESP.ONSE.TO INTERROGATORY NO. 3: _ n k

Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad,
compound and consists of multiple separate interrogatories Lakireddy further objects on the
grounds that the interrogatory seeks,information protected by the attorney-work product privilege
ln addition, Lakireddy objects to this interrogatory on the grounds that it is burdensome and
harassing Lakireddy has already responded to PLA]NTIFFS’ Second Amended Complaint and
identified his affirmative defenses
INTERROGATORY NO. 4:

Do YOU contend that any PLAINTIFF is responsible for any of the damages asserted in
the Second Amended Complaint? -
_RESPONSE TO INTERROGATORY NO. 4_:
_ Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the F ederal Rules of Civil Procedure. Lakireddy further objects to the

interrogatory on the ground that the interrogatory is vague and ambiguous in its use of the terms

l “responsible for” and “any of the damages asserted in the Second Amended Complaint.” In

addition to the foregoing objections Lakireddy invokes h_is rights under the Fifth Amendment
v l INTERROGATORY No. s: '
If your answer to Interrogatory No. 4 is yes, please state all facts YOU rely upon to
support YOU_R contentions ' d l
RESPONSE TO INTERROGATORY NO. 5:

Not applicable

INTERRoGAToRY`No. 6:

Do YOU contend that the claims of or damages asserted by any PLAI_NT[FF are barred by
the doctrine of unclean hands?
W=

Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the Federal Rules of Civil Procedure. Lakireddy further objects to the

interrogatory on the ground that the interrogatory is vague and ambiguous in its use of the terms
` 5 ' case No. cv li)2-5570€w

DEFENDANT PRASAD LAKIREDDY’S RESPONSE TO PLAINTIFF LAKSHM[ PRA'I'I'[PATI'S FIRST SET OF
INTERROGATORIES `

 

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Case 3:02-CV-0557O-WHA Dooument 623-8 Filed 03/15/04 Page 6 of 13 j

“claim`s of"’ and “damages-asserted by.” In addition to the foregoing obj ections, Lakireddy
invokes his rights under the Fifth Amendment_. _

INTERROGATORY NO. 7 :
If YOUR answer to Interrogat_ory No. 6 is yes, please state all facts YOU rely upon to

' support YOUR contentions

LSPONSE TO INTERROGATORY N_O. 7 :
Not applicable
INTERROGATORY NO. 8:
Do YOU contend that the claims of or damages asserted by any PLA[NTIFF are barred by
the doctrine of in pari dilec_to?
RESPONSE TO INTERROGATORY NO. 8:

d Lakireddy objects to this request on the grounds that the request is overbroad'and
compound in violation of the Federal Rules of Civil Procedure, Lakireddy further objects to the
interrogatory on the ground that the interrogatory is vague and ambiguous in its use_of the terms _
“claims of” and “damages asserted by.” In addition to the foregoing objections Lakireddy
invokes his rights under the FiRh Amendment;

INTERROGATORY NO. 9:

lf YO_UR answer to Interrogatory No. 8 is yes, please state all facts YOU rely upon to v
support YOUR contentions ' n ' n l
ESPONSE TO INTERROGATORY NO. 9:

Not applicable
INTERROGATORY NO. 10: _ _

Do YOU contend that lane Does I, II, III, V, VI and Chanti Prattipatti were NO”f all under
18 years of age when they first arrived in the United States?
RESPONSE TO INTERROGATORY NO. 10:

Lakireddy objects to this request on the grounds that the request is overbroad and

compound in violation of the F ederal Rules of Civil Procedure. Lakireddy further objects to this

. interrogatory on the grounds that it seeks information not relevant to the litigation. lane Does l[[,

6 case No. cv 02-5570_-cw
DEFENDANT PRASAD LAKlREDoY’s REsPoNsE To PLArNTIFF LAKsHMl PRAmP_ATl's Fms'r sET oF"
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_ Case 3:02-C\/-05570.-WHA Dooument 623-8 Filed 03/15/04 Page 7 of 13

V and VI voluntarily moved to dismiss their claims on October 28', 2003. Lakireddy further
objects to this interrogatory on the ground that it seeks information that calls for expert opinion. l
In addition to the foregoing obj ections, Lakireddy invokes his rights under the Fi-fth Amendment
INTERROGATORY NO. 11: l `
If YOUR answer to Interrogatory no. ll is yes, state all the facts YOU rely upon to
' support YOUR contentions about PLAINTIFFS' and decedent's ages
. RESPONSE TO INTERROGATORY NO. 11: '
Not applicable
-INTERROG'A-TORY NO. 12:

 

Do YOU contend that any parent of Jane Does I, H, lII', V, VI and/or Chanti Prattipatti
knew, prior to L.B. Reddy's arrest in January 2000, that L.B. Reddy was having sexual relations
with his or her daughter? n l
RESPONSE TO INTERROGATORY NO. 12:

l Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad
and compound in violation of the Federal Rules of Civil Procedure. Lakireddy further objects .to
this interrogatory on the grounds that it seeks information not relevant to the litigation -Jane Does
III, V and VI voluntarily moved to dismiss their claims on October 28, 2003. l

Subj ect to and without'waiver of the foregoing objections Lakireddy responds as follows:
Yes. l l
INTERROGATORY NO. 13: _

IfYOUR answer to Interrogatory no. 13 is yes, state all the facts YOU rely upon to

support YOUR contentions

7 case No. Cv 02-5570-cw
DEFENDANT PRAsA'D LAKlREDr)Y’s REsPoNsE To PLAlNTrFF LAKsHMl PRATnPA'n's Fmsr sET oF `
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Case' 3:02-CV-0557O-WHA Dooument'623'-8 Filed 03/15/04 Page 8 of 13

RESPONSE TO INTERROGATORY NO.13:

Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad
in that it seeks “all facts” supporting the contention. ` `

Subject to and without Waiver of the foregoing objections, Lakireddy responds as follows:
Lakireddy is informed and believes that information supporting the contention may be found in
the deposition transcripts of Jane Doe I. n
INTERROGATORY NO. 14:

Do YOU contend that any PLAINTIFF engaged in SEXUAL RELATIONS in exchange
for money in the United States?

RESPONSE TO- INTERROGATORY NO. 14:

` Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the Federal Rules of Civil Procedure. Lakireddy objects to this
interrogatory on the grounds that it is vague and ambiguous in its use of the term “SEXUAL
RELATI_ONS.” '

Subject to and without waiver of the foregoing objections Lakireddy responds as follows:
A_t this ltime, no. - l
m'r;rRRoGATORY No. 151

lf` your answer to Interrogatory No. 14 is yes,_ state all the facts you rely upon to support
your contentions about PLA]NTIFFS' sexual relations in exchange for money. b
RESPONSE TO INTERROGATORY NO. 15: j

Not applicable
INTERROGATORY No. 16:

l Do you contend that any PLAINTIFF required, asked or forced anyone to engage in
SEXUAL RELATIONS in exchange for money in the United States?
RESPONSE 7TO INTERROGATORY NO. 16: _

Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the F_ederal Rules of Civil Procedure. Lakireddy objects to this

interrogatory on the grounds that it is vague and ambiguous in its use of the terms “forced” and
8 ease No. cv 02 5570cw_

DEFENDANT PRASAD LAKIREDDY’S RESPONSE TO PLAI.NTIFF LAKSHMI PRATT!PATI'S FIRST SET OF
INTERROGATORIES

 

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_ CaSe 3:02-CV-0557O-WHA Dooument 623-8 Filed 03`/15/04 Page 9 of 13

“SEXUAL RELATIONS.”

Subj ect to and without waiver of the foregoing objections, Lakireddy responds as follows:

At this time, no.
INTERROGATORY No. 17:

If your answer to lnterrogatory No. 16 is yes, state all the facts you rely upon to support
your contentions about_PLAINTIFFS' asking, requiring or forcing anyone to engage in sexual -
relations in exchange for money.

RE_lSPONSE TO INTERROGATORY NO. 17: _

Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the Federalv Rules of Civil Procedure. Lakireddy objects to this
interrogatory on'the grounds that it is vague and ambiguous in its use of the terms “forced” and
“sExUAL RELATI`oNs.” '

Subj ect to and without waiver of the foregoing obj ections, Lakireddy responds as follows:
Not applicable
INTERRoGAToRY No. 18: l

- _ _ Do you contend that any PLAINTIFF'has ever made any false accusation of rape?
RESPONSE TO INTERROGATORY NO. 18: 1

Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad
and compound in violation of the Federal Rules of Civil Procedure. Lakireddy further objects to
this interrogatory on the grounds that it seeks information protected by the attorney work-product
privilege ` 1 j

§ Subj ect to and without waiver of the foregoing obj ections, Lakireddy responds as follows:
Yes.
INTERROGATORY NO. 19:

If your answer to lnterrogatory No. 18 is yes, state all the facts you rely upon to support `
your contentions about any PLAINTIFF making any false accusation of rape
RESPONSE TO INTERROGATORY NO. 19:

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' Lakireddy objects to this interrogatory on the grounds that the interrogatory is overbroad
9 » case No. cv 02_.5570-cw

DEFENDANT PRASAD LAKIREDDY’S RESPONSE`-TO PLAINT!FF LAKSHM[ PRATTIPAT['S FIRST SET OF
INTERROGATORIES

 

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Case 3:02-CV-0557O-WHA Dooument 623-8 Filed 03/15/04 Page 10 of 13 ,

and compound m violation of the Federal Rules of Civil Procedure Lakireddy further objects to
this interrogatory on the grounds that it seeks information protected by the attorney work-product
privilege

Subj ect to and without waiver of the foregoing obj ections, Lakireddy responds as follows:
Lakireddy is informed and believes that lane Doe VIII may have made a false allegation of rape
in I_ndia that she made against a young man named Madhava Reddy. Plaintiffs have obstructed
discovery in'the matter. ln addition, in this action, plaintiffs lane Doe I and II have alleged they

were raped by various defendants in this action, T he other defendants in this action have denied

these allegations .
INTERROGATORY NO. 20:

Please state all facts RELATED TO any occasion upon which any PLAINT[FF was
required to engage in SEXUAL RELATIONS in the United States in exchange for money or
other compensation
RESPONSE TO INTERROGATORY NO. 20:

Lakireddy objects to this request-on th_e grounds that the request is overbroad and
compound in violation of the F ederal Rules of Civil Procedure. Lakireddy objects to this
interrogatory on the grounds that it is vague and ambiguous in its use of the terms “RELATED
TO, ” _“SEXUAL RELATIONS” and “other compensation.”

Subj ect to and without waiver of the foregoing obj ections, Lakireddy responds as follows:
At this time, Lakireddy is not aware of any “facts RELATED TO any occasion upon which any
PLA]`NTIFF was required to engage in SEXUAL RELATIONS in the United States in exchange

for money or other compensation.”

INTERROGATORY NO. 21:
Please state all facts RELATED TO any occasion upon which any PLAINTIFF was asked

to engage in SEXUAL RELATIONS in the United States in exchange for money or other
compensation n

RESPONSE TO INTERROGATORY NO. 21:

___________-_____

Lakireddy objects to this request on the grounds that the request is overbroad and
10 ' ease No cv 02 5570c'w

DEFENDANT PRA_SAD LAKlREDDY’S RESPONSE TO PLAINTIFF LAKSHMI PRA'I'I`lPATl'S FlRST SET OF
INTERROGATORIES

 

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Case 3:02-CV-0557O-WHA Dooument 623-8 Filed 03/15/04 Pag'e 11 of 13

compound in violation of the Federal Rules of Civil Procedure. Lakireddy objects to this
interrogatory on the grounds that it is vague and ambiguous in its use of the terms “RELATED
TO,” “SEXUAL RELATIOst’ and “other compensation.’? j

Subj ect to and without waiver of the foregoing objections, Lakireddy responds as follows:
At this time, Lakireddy is not aware of any "‘facts RELATED TO any occasion upon which any
PLAINT[FF was asked to engage in SEXUAL RELATIONS in the United States in exchange for
money or other compensation.” b
INTERRoGAToRY No. 221

Please state-all facts RELATED TO any occasion upon which any PLAINTIFF was paid
for having SEXUAL RELATIONS ;with anyone in the United States.

RESPONSE TO INTERROGATORY NO. 22:

Lakireddy objects to this request on the grounds that the request is overbroad and
compound in violation of the Federal Rules of Civil Procedure. Lakireddy objects to this
interrogatory on the grounds that it is Vague and ambiguous in its use of the terms “RELATED
TO,” “paid” and “SEXUAL RELATIONS.”

Subj ect to and without waiver of the foregoing obj ections, Lakireddy responds as follows:
At this time, Lakireddy is not aware of any “facts RELATED TO any occasion upon Which any
PLAINTIFF Was paid for having SEXUAL RELATIONS With anyone in the United States.”
INTERROGATORY NO. 232 -

Please state all facts RELATED TO any occasion upon which any DEFENDANT
received money or other compensation in exchange for any PLAINTIFF having SEXUAL
RELATIONS with anyone in the United States l
RE_SPONSE TO`INTERROGATORY NO. 23:

Lakireddy objects to this interrogatory on the grounds that it is vague and ambiguous in its
use of the terms “RELATED TO,” “other compensation” and “SEXUAL RELATIONS.”

Subject to and without waiver of the foregoing objections Lakireddy responds as follows:
Lakireddy is not aware of any “facts RELATED TO any occasion upon which any DEFENDANT

received money or other compensation in exchange for any PLAINTIFF having SEXUAL

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DEFENDANT PRAsAD LAKlREoDY's RESPONSE To PLAlNTlFF LAKsHMl PRATrrPATl's Fms'r sET oF
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Case 3:02-CV-0557O-WH'A Document623-8 Filed 03/1_5/04 Page' 12 of 13

RELATIONS with anyone in the United States
INTERROGATORY NO. 24: n

Please describe'all efforts YOU have made since 1996 to comply with the immigration
laws of the United States as they relate to any business(es)_ you own or operate 7
RESPONSE TO INTERROGATORY NO. 24:

Lakireddy objects to this interrogatory on the grounds that the interrogatory is vague and

-` ambiguous`in its use of the terms “comply with the immigration laws of the United States” and

‘-‘relate to.” ln addition to the foregoing objections, lLakireddy invokes his rights under the Fifch
Amendment. - ' 1 d l
INTERROGATORY NO. 25: n _

Please IDENTIFY all persons, including attorneys and investigators who have visited
'India and spoken with residents of Velvedam on YOUR behalf since January of 2000,
RESPONSE TO INTERROGATORY NO. 25: j

Lakireddy objects to this interrogatory on the grounds that it is compound. Lakireddy
further objects to this interrogatory on the ground that it is vague and ambigqu m its use of the
phrase “on YOUR behalf.” ln addition, Lakireddy objects to this request 'on the~ground that it
seeks information protected under the attorney-work product privilege '

Dated: _November 25, 2003` COBLENTZ, PATCH, DUFFY & BASS, LLP

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JO THAN R_. BASS
Atto eys for Defendant .
AD LAKIREDDY

'12 case No. cv'02-'557o<:W
DEFENDANT PRAsAn LAKmF.~r)nY’s REsr>oNsE ro PLArNTrFF LAKsqu PRATTIPATr's Fuzsr ssr or
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' \, DUFFY & BAss, LLP

One Ferry Building, Su\»_w/ZOO, San Francisco, CA 94111
(415) 391-4800 0 FaX (415) 989-1663

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Case 3:02-CV-05570-WHA Document623-8 Filed 03/15/04 Page 1301c 13

CERTIFICATE oF SERVICE
I, carr o». Quan, hereby deeme-

I am over the age of 18 years and not a party to or interested in the within entitled cause I
am an employee of Coblentz, Patch, Duffy & Bass, LLP and my business address is One Ferry
B'uilding, Suite 200, San Francisco, CA 94111. On the date stated below, I served a true copy of`:

DEFENDANT PRASAD LAK[REDDY’S RESPONSE TO PLAINTIFF LAKSHMI
PRATTIPATI'S FIRST SET OF INTERROGATORIES -

(X) By mail, by placing said document(s) in an envelope addressed as shown below. l am
readily familiar with my finn’ s practice for collection and processing of correspondence
for mailing with the United States Postal Service, to Wit, that correspondence will be
deposited with the United States Postal Service this same day in the ordinary course of
business I sealed said envelope and placed it for collection and mailing on the date stated
below to the addressee stated below, following ordinary business practices

Michael Rubin . John P. Flynn `

Scott A. Kronland ` Randall T. Kim

Altshuler, Berzon, Nussbaum, Rubin & Latham & Watkins, LLP .
Demain 505 Montgomery Street, Suite 1900

177 Post Street, Suite 300 ' San Francisco, CA 94111

San Francisco, CA 94108 ` ' Telephone: (415) 391-0600

Telephone: '(415) 421-7151 . Facsimile: (415) 395-8095

Facsimile: (415) 362-8064 - ' `

Attorneys for Plaintiffs

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- Mark Raskoff ' ' Wolf & Babcock, LLP
Bishop, Barry, H`owe, Haney & Ryder 1212 Broadway, Tenth Floor
Watergate Tower 111 Oakland, CA 94612-1828
2000 Powell Street, Suite 1425 Telephone: (510) 451-4600

Emeryville, CA 94608 Facsimile: (510) 451-3002
Telephone: (510) 596-0888 .
’ Facsimile: (510) 596-0899

l I declare under penalty of perjury, under the laws of the State of California that the
foregoing is true and correct, and that this declaration was executed at San Francisco, California
on November 25, 2003,

Gail G. Quan
095784)01.010711.

09578.001.0382.11 l

 

 

Certif`icate of Service

